                                                                                                                          Case 3:20-cv-05845-JD Document 374 Filed 06/24/22 Page 1 of 10



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                                                                                                           7   RSCC Wire & Cable, LLC (individually and as successor-in-interest to The Rockbestos Company)
                                                                                                           8
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                                                                                                                                             UNITED STATES DISTRICT COURT
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                                                                                                          10                                NORTHERN DISTRICT OF CALIFORNIA
                                                                                                          11
                                                                                                                                                             Case No. 3:20-cv-05845-JD
                                                                                                          12   CHARLES ANTHONY SPECK, Individually
                                                                                                               and As Successor In Interest to Decedent      REPLY BRIEF IN SUPPORT OF JOINT
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                                                                                                          13   JOHN C. SPECK, et al.                         DEFENSE MOTION TO PRECLUDE BARRY
                                                                                                                                                             HORN, M.D. FROM OFFERING EVIDENCE
                                                                                                          14                  Plaintiffs,
                                                                                                                                                             AND/OR TESTIMONY REGARDING THE
                                                                                                                     v.                                      “EVERY EXPOSURE OPINION” OR
                                                                                                          15
                                                                                                                                                             “CUMULATIVE EXPOSURE OPINION,” OR IN
                                                                                                          16   3M COMPANY (aka MINNESOTA                     THE ALTERNATIVE, THAT THE COURT
                                                                                                               MINING & MANUFACTURING                        HOLD A DAUBERT HEARING ON
                                                                                                          17   COMPANY), et al.,                             ADMISSIBILITY

                                                                                                          18                  Defendants.                    Date: October 6, 2022
                                                                                                                                                             Time: 10:00 a.m.
                                                                                                          19                                                 Courtroom: 11, 19th Floor
                                                                                                          20                                                 Honorable James Donato
                                                                                                          21

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                                                                                                                REPLY BRIEF IN SUPPORT OF JOINT DEFENSE MOTION TO PRECLUDE BARRY HORN, M.D. FROM OFFERING
                                                                                                               EVIDENCE AND/OR TESTIMONY REGARDING THE “EVERY EXPOSURE OPINION” OR “CUMULATIVE EXPOSURE
                                                                                                                 OPINION,” OR IN THE ALTERNATIVE, THAT THE COURT HOLD A DAUBERT HEARING ON ADMISSIBILITY
                                                                                                                          Case 3:20-cv-05845-JD Document 374 Filed 06/24/22 Page 2 of 10



                                                                                                           1                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                           2   I.     INTRODUCTION
                                                                                                           3          Despite attaching a new Declaration from proposed medical expert Dr. Horn, and nearly 100 pages
                                                                                                           4   of additional exhibits, Plaintiffs’ Opposition to the Defendants’ Motion to Exclude Opinion Testimony
                                                                                                           5   from Dr. Horn fails to show that the proposed opinion testimony is admissible under Fed. Rule of Evid.
                                                                                                           6   702. As explained in the Motion and as explained further herein, Dr. Horn opines that all exposures
                                                                                                           7   contributed to Mr. Speck’s risk and “made his disease worse.” This opinion is incompatible with
                                                                                                           8   California’s standard that a Plaintiff must prove substantial factor of causation.
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                                                                                                           9          Asbestos-containing products do not all necessarily create the same or even similar risks of harm
                                                                                                          10   because they have “widely divergent toxicities, with some asbestos products presenting a much greater
                                                                                                          11   risk of harm than others. This divergence is caused by a combination of factors, including: the specific
                                                                                                          12   type of asbestos fiber incorporated into the product; the physical properties of the product itself; and the
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                                                                                                          13   percentage of asbestos used in the product.” Celotex Corp. v. Copeland, 471 So. 2d 533, 538 (Fla. 1985).
                                                                                                          14   Dr. Horn is not concerned with these differences among products, nor with the individual dose of exposure
                                                                                                          15   attributable to any Defendant’s products. He has no basis for his opinion beyond his belief that every
                                                                                                          16   exposure contributes to risk. If admitted before this Court, Dr. Horn’s opinion on causation would allow
                                                                                                          17   Plaintiffs and the jury to ignore the reality of the differences among products and exposures.
                                                                                                          18   Further, it would render California’s substantial contributing factor standard meaningless. Therefore, the
                                                                                                          19   opinion is improper and it should be excluded. The Joint Defense Motion to preclude Barry Horn, M.D.
                                                                                                          20   from offering evidence and/or testimony regarding the “every exposure opinion” or “cumulative exposure
                                                                                                          21   opinion,” or, in the alternative, that the Court should hold a Daubert hearing on admissibility, should be
                                                                                                          22   granted.
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                                                                                                               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT’S MOTION TO PRECLUDE BARRY
                                                                                                                HORN, M.D. FROM OFFERING EVIDENCE AND/OR TESTIMONY REGARDING THE “EVERY EXPOSURE” OR
                                                                                                                  “CUMULATIVE EXPOSURE,” OR IN THE ALTERNATIVE, FOR A DAUBERT HEARING ON ADMISSIBILITY
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                                                                                                         1   II.       PLAINTIFFS HAVE NOT CARRIED THEIR BURDEN TO SHOW THAT DR. HORN’S
                                                                                                                       OPINION IS ADMISSIBLE.
                                                                                                         2

                                                                                                         3             The proponent of any purported expert testimony bears the burden of showing its admissibility,
                                                                                                         4   and here, Plaintiffs cannot meet that burden. Under Fed. R. Evid. 702, a witness may testify as an expert
                                                                                                         5   if – and only if – the following criteria are met:
                                                                                                         6

                                                                                                         7                    (a)     the expert’s scientific, technical, or other specialized knowledge will
                                                                                                                              help the trier of fact to understand the evidence or to determine a fact in
                                                                                                         8                    issue;
                                                                                                                              (b)     the testimony is based on sufficient facts or data;
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                                                                                                         9                    (c)     the testimony is the product of reliable principles and methods; and
                                                                                                                              (d)     the expert has reliably applied the principles and methods to the facts
                                                                                                        10                    of the case.
                                                                                                        11

                                                                                                        12             Here, Dr. Horn gives no thought to the dose of asbestos attributable to any defendant’s product,
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                                                                                                        13   nor to any other details of any products or individual exposures. To him, the only necessary fact is

                                                                                                        14   exposure. This analysis cannot be said to be the application of reliable principles and methods to sufficient

                                                                                                        15   facts or data. Thus, Plaintiff fails to show that Dr. Horn’s medical causation opinion is admissible under

                                                                                                        16   R. 702.

                                                                                                        17             Furthermore, because Dr. Horn’s proposed opinions are incompatible with California’s causation

                                                                                                        18   standard for asbestos product liability cases, he cannot help the jury understand the evidence and the task

                                                                                                        19   before it. Dr. Horn’s April 6, 2021 report makes the broad blanket statement that “all of [Speck’s] asbestos

                                                                                                        20   exposure contributed to the development of asbestosis and pleural plaques * * * * all of his exposures

                                                                                                        21   contributed to his risk for developing asbestosis and made his disease worse.” (Horn Apr. 6, 2021 report,

                                                                                                        22   at p. 38.) Furthermore, at deposition, Dr. Horn testified that if Mr. Speck were exposed, “no matter what

                                                                                                        23   that exposure level, it would be a substantial factor.”

                                                                                                        24
                                                                                                                              Q: * * * While you can’t attribute a particular level of exposure, if you were
                                                                                                        25                    asked questions by Mr. Jones at trial to make certain assumptions about
                                                                                                                              exposure and what not, regardless of that exposure level, whether it’s a .1
                                                                                                        26                    fiber per – fiber per cc less or more, your opinion, it sounds to me, that no
                                                                                                                              matter what that exposure level, it would be a substantial factor. Is that
                                                                                                        27                    right?
                                                                                                                                                                     2
                                                                                                        28   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT’S MOTION TO PRECLUDE BARRY
                                                                                                              HORN, M.D. FROM OFFERING EVIDENCE AND/OR TESTIMONY REGARDING THE “EVERY EXPOSURE” OR
                                                                                                                “CUMULATIVE EXPOSURE,” OR IN THE ALTERNATIVE, FOR A DAUBERT HEARING ON ADMISSIBILITY
                                                                                                                      Case 3:20-cv-05845-JD Document 374 Filed 06/24/22 Page 4 of 10



                                                                                                         1
                                                                                                                            A: That’s correct. (Horn Apr. 28, 2021 depo. at 107: 2-11, excerpts attached
                                                                                                         2                  as Ex. 1).
                                                                                                         3

                                                                                                         4          To meet their causation burden as to each Defendant, Plaintiffs must prove that exposure to

                                                                                                         5   asbestos from that Defendant’s specific product was a substantial contributing factor in causing his illness.

                                                                                                         6   See McIndoe v. Huntington Ingalls Inc. (9th Cir. 2016) 817 F.3d 1170; Stephens v. Union Pac. R.R. Co.

                                                                                                         7   (9th Cir. 2019) 935 F.3d 852; Edmonds v. Compagnie Generale Transatlantique, 443 U.S. 256, 260

                                                                                                         8   (1979); Lindstrom v. A-C Prod Liability Trust, 424 F.3d 488 (6th Cir. 2005), abrogated on other grounds
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                                                                                                         9   by Air & Liquid Sys. Corp. v. DeVries, 139 S. Ct. 986 (2019). An opinion like Dr. Horn’s, which lacks

                                                                                                        10   any critical analysis of individual defendants’ products and alleged exposures, is simply incompatible with

                                                                                                        11   that standard. For Dr. Horn, however, the mere fact of exposure is sufficient to conclude that the exposure

                                                                                                        12   was an important contributing cause. He has no interest in the differences among products, nor in
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                                                                                                        13   attempting to consider the dose attributable to each defendant’s products. If, as Dr. Horn asserts, every

                                                                                                        14   exposure above background level is a substantial contributing factor, then the standard is utterly

                                                                                                        15   meaningless.

                                                                                                        16          The opinion that all exposures to asbestos, no matter how small, infrequent, or remote, and absent

                                                                                                        17   consideration of fiber toxicity, are important in causing asbestosis or its severity, is unsupported by

                                                                                                        18   accepted scientific principles and is contrary to California law. To allow recovery, a negligent act or

                                                                                                        19   defective product must be a proximate cause of injury, not just a cause. Rutherford v. Owens-Illinois, Inc.

                                                                                                        20   (1997) 16 Cal.4th 953, 982. Therefore, Dr. Horn’s opinion that all exposures contribute, either to risk or

                                                                                                        21   to cause, cannot be allowed. The Motion must therefore be granted.

                                                                                                        22   III.   DR. HORN’S JUNE 14, 2022 DECLARATION DOES NOT SAVE HIS OPINIONS FROM
                                                                                                                    EXCLUSION.
                                                                                                        23

                                                                                                        24          In response to the Joint Defense Motion, Dr. Horn authored a June 14, 2022 Declaration. (Pls.’
                                                                                                        25   Opp’n at Ex. 1.) The Declaration repeats Dr. Horn’s explanation of his experience with workers at Mare
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                                                                                                        28   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT’S MOTION TO PRECLUDE BARRY
                                                                                                              HORN, M.D. FROM OFFERING EVIDENCE AND/OR TESTIMONY REGARDING THE “EVERY EXPOSURE” OR
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                                                                                                         1   Island Shipyard, comparing their overall exposure profiles with Mr. Speck’s alleged exposures, and
                                                                                                         2   concluding again that “Mr. Speck’s total exposure to asbestos from electrical products and insulation were
                                                                                                         3   a regular occurrence over many years, and these exposures increased his risk of asbestosis, caused
                                                                                                         4   inflammation and scarring in this lungs that contributed to his asbestosis, and made his condition worse.”
                                                                                                         5   (Pls.’ Opp’n at 4.) Simply put, this opinion does not assist Plaintiffs’ case against any individual
                                                                                                         6   defendant. It would not help the trier of fact to understand the evidence or to determine a fact in issue, and
                                                                                                         7   should be excluded under Rule 702.
                                                                                                         8          Dr. Horn’s new Declaration also recites the opinions of other individuals, including purported
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                                                                                                         9   asbestos expert Charles Ay, proclaiming those opinions consistent with his own opinions. Parroting the
                                                                                                        10   opinions of others and recasting them as his own opinions on medical causation also fails to save Dr.
                                                                                                        11   Horn’s opinions from exclusion. Those citations to others’ opinions cannot mask his total lack of
                                                                                                        12   standards. Dr. Horn has made clear that he requires no facts other than the fact of exposure. Therefore, it
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                                                                                                        13   is impossible for Plaintiffs to show that his opinions are based on sufficient facts or data under Rule 702.
                                                                                                        14   Expert opinions must be connected to existing data by more than the expert’s say-so. Kumho Tire Co. v.
                                                                                                        15   Carmichael, 526 U.S. 137, 141, 119 S. Ct. 1167, 1171, 143 L. Ed. 2d 238, 246 (1999). Nor is Dr. Horn’s
                                                                                                        16   blanket opinion that all exposures contribute a reliable application of principles and methods, and it should
                                                                                                        17   be excluded under Rule 702 for that reason as well.
                                                                                                        18
                                                                                                             IV.    THE RIGHT OF CROSS-EXAMINATION IS INSUFFICIENT TO PROTECT THE
                                                                                                        19
                                                                                                                    DEFENDANTS FROM BEING UNFAIRLY PREJUDICED AND DR. HORN FROM
                                                                                                        20          MISLEADING THE JURY.

                                                                                                        21          Finally, Plaintiffs invite this Court to misapply Rule 702 when they contend that the flaws in Dr.

                                                                                                        22   Horn’s methodology are simply a matter for cross-examination at trial. That argument should be

                                                                                                        23   rejected. A juror cannot be expected to determine whether or not an opinion that “all of his exposures

                                                                                                        24   contributed” expressed under oath by a highly educated and apparently well-qualified expert has any real

                                                                                                        25   scientific basis. Such purported expert testimony does not assist the jury to understand the evidence or to

                                                                                                        26   determine a fact in issue, and therefore it cannot be allowed under Rule 702. Plaintiffs are attempting to

                                                                                                        27   circumvent their burden of proving that exposure to asbestos from each Defendant’s products was a
                                                                                                                                                                   4
                                                                                                        28   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT’S MOTION TO PRECLUDE BARRY
                                                                                                              HORN, M.D. FROM OFFERING EVIDENCE AND/OR TESTIMONY REGARDING THE “EVERY EXPOSURE” OR
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                                                                                                         1   substantial factor in causing asbestosis. This Court’s intervention is required to prevent the misapplication
                                                                                                         2   of the law, as the probable result for the defendants of such testimony would be unduly prejudicial.
                                                                                                         3   V.     CONCLUSION
                                                                                                         4          For the reasons set forth above, Defendants request that the Court issue an order precluding
                                                                                                         5   Plaintiffs’ expert Barry Horn, M.D., from offering causation evidence or testimony using the “every
                                                                                                         6   exposure” or “cumulative exposures” theory, including testimony that “all exposures contribute”. If the
                                                                                                         7   Court is not inclined to grant Defendants’ motion, Defendants respectfully request that the Court hold a
                                                                                                         8   Daubert hearing to assess the admissibility of Dr. Horn’s proffered testimony.
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                                                                                                         9   DATED: June 24, 2022                                      TUCKER ELLIS LLP
                                                                                                        10

                                                                                                        11
                                                                                                                                                                  By: /s/ Nicole E. Gage
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                                                                                                        13                                                             Attorneys for Defendant
                                                                                                                                                                       RSCC WIRE & CABLE LLC, erroneously
                                                                                                        14                                                             sued as RSCC Wire & Cable, LLC
                                                                                                        15                                                             (individually and as successor-in-interest to
                                                                                                                                                                       The Rockbestos Company)
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                                                                                                        28   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT’S MOTION TO PRECLUDE BARRY
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                                                                                                                     Case 3:20-cv-05845-JD Document 374 Filed 06/24/22 Page 7 of 10



                                                                                                         1
                                                                                                             DATED: June 24, 2022                            TUCKER ELLIS LLP
                                                                                                         2

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                                                                                                         4                                             By: /s/ Nicole E. Gage
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                                                                                                         7

                                                                                                         8   Dated: June 24, 2022
                                                                                                                                                       FOX ROTHSCHILD LLP
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                                                                                                        13                                                    f/k/a Square D Company

                                                                                                        14
                                                                                                             Dated: June 24, 2022
                                                                                                        15                                             EDLIN GALLAGHER HUIE + BLUM

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                                                                                                             Dated: June 24, 2022                      FOLEY & MANSFIELD, PLLP
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                                                                                                        21                                      By:    /s/ Nicole Brown Yuen
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                                                                                                                                                        PLASTICS ENGINEERING COMPANY
                                                                                                        24
                                                                                                             Dated: June 24, 2022                      By:    /s/ P.M. Bessette
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                                                                                                        28   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT’S MOTION TO PRECLUDE BARRY
                                                                                                              HORN, M.D. FROM OFFERING EVIDENCE AND/OR TESTIMONY REGARDING THE “EVERY EXPOSURE” OR
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                                                                                                                     Case 3:20-cv-05845-JD Document 374 Filed 06/24/22 Page 8 of 10



                                                                                                         1                                                          GENERAL DYNAMICS
                                                                                                                                                                   CORPORATION, erroneously sued herein
                                                                                                         2
                                                                                                                                                                   individually and on behalf of its
                                                                                                         3                                                          ELECTRIC BOAT DIVISION, and as
                                                                                                                                                                    successor-in-interest to BATH IRON
                                                                                                         4                                                          WORKS LTD, f/k/a THE HYDE
                                                                                                                                                                    WINDLASS COMPANY and
                                                                                                         5                                                          ELECTRIC BOAT COMPANY and
                                                                                                                                                                    BATH IRON WORKS CORPORATION
                                                                                                         6

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                                                                                                         8   Dated: June 24, 2022                          MANNING GROSS + MASSENBURG LLP
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                                                                                                         9
                                                                                                                                             By:           /s/ Kelley T. Mahoney
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                                                                                                             Dated: June 24, 2022                  LEWIS BRISBOIS BISGAARD & SMITH           LLP
                                                                                                        15

                                                                                                        16
                                                                                                                                                   By:
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                                                                                                        20

                                                                                                        21   DATED: June 24, 2022                              HAWKINS PARNELL & YOUNG LLP

                                                                                                        22

                                                                                                        23                                               By:
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                                                                                                        25                                                     ERICSSON INC. (SUED INDIVIDUALLY
                                                                                                                                                               AND AS SUCCESSOR-IN-INTEREST TO
                                                                                                        26                                                     ANACONDA WIRE & CABLE)
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                                                                                                                                                           7
                                                                                                        28   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT’S MOTION TO PRECLUDE BARRY
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                                                                                                                    Case 3:20-cv-05845-JD Document 374 Filed 06/24/22 Page 9 of 10



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                                                                                                                                                       WILSON ELSER MOSKOWITZ
                                                                                                         2   DATED: June 24, 2022                      EDELMAN & DICKER LLP

                                                                                                         3
                                                                                                                                                       By: /s/ Gayle L. Ketchie
                                                                                                         4                                                     Nicolas P. Martin, Esq.
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                                                                                                         5                                                     Gayle L. Ketchie, Esq.
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                                                                                                             DATED: June 24, 2022                      HUSCH BLACKWELL LLP
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                                                                                                        10                                             By: /s/ Daniel B. Hoye
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                                                                                                        11                                                MICHELLE C. JACKSON
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                                                                                                        12                                                Attorneys for Defendant
                                                                                                                                                          METALCLAD INSULATION LLC
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                                                                                                                        Case 3:20-cv-05845-JD Document 374 Filed 06/24/22 Page 10 of 10


                                                                                                           1                                         CERTIFICATE OF SERVICE
                                                                                                           2           This Certificate of Service is made in compliance with Local Rule 5.1.2 and Civ.R. 5(b). I am
                                                                                                           3   employed in the County of San Francisco, State of California. I am over the age of 18 and not a party to
                                                                                                           4   the within action. My business address is 201 Mission Street, Suite 2310, San Francisco, CA 94105.
                                                                                                           5           On the date indicated below, a true and correct copy of the foregoing REPLY BRIEF IN
                                                                                                           6   SUPPORT OF JOINT DEFENSE MOTION TO PRECLUDE BARRY HORN, M.D. FROM
                                                                                                           7   OFFERING EVIDENCE AND/OR TESTIMONY REGARDING THE “EVERY EXPOSURE
                                                                                                           8   OPINION” OR “CUMULATIVE EXPOSURE OPINION,” OR IN THE ALTERNATIVE,
                                                                                                           9   THAT THE COURT HOLD A DAUBERT HEARING ON ADMISSIBILITY was lodged with
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                                                                                                          10   Court and served electronically and will be available for viewing and downloading from the Court’s
                                                                                                          11   CM/ECF system:
                                                                                                          12           The Notice of Electronic Case Filing automatically generated by the system and sent to all
                                                                                                          13   parties entitled to service under the Federal Rules of Civil Procedure and the Local Rules of the
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                                                                                                          14   Northern District of California who have consented to electronic service shall constitute service of the
                                                                                                          15   filed document to all such parties.
                                                                                                          16           I declare under penalty of perjury that I am employed in the office of a member admitted to
                                                                                                          17   practice before the District Court for the Northern District of California and ECF registered in this Court
                                                                                                          18   at whose direction the service was made and that the foregoing is true and correct.
                                                                                                          19           Executed on June 24, 2022, at San Francisco, California.
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                                                                                                          22                                                            By /s/ Anna Villanueva
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